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Ofiice of the United Statés Attorney
District ofNevada

333 Las Vegas Blvd., South, Ste. 5000
Las Vegas, Nevada 89101

(702) 388-6336

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DANIEL G. BOGDEN
United States Attorney
District of Nevada MAR _ 9 yarn
JIAMIN CHEN " '
Assistant United States Attorney
333 Las Vegas Boulevard South CLERK US DlSTRlCT COURT

Suite 5000 BY: DlSTRlCT OF NEVADA

Las Vegas, Nevada 89101 DEPUTY
702-388-6603

 

 

 

 

 

 

 

UNITED STATES DISTRICT COURT
DIS_TRICT OF NEVADA
-oOo-

CHARLES WURM, 18 U.S.C. § 981(a)(1)(C) ~ Forfeiture

Defendants.

UNITED STATES OF AMERICA, ) SEALED CRIMINAL INDICTMENT

)
Plaimiff, § 2f16-Cr- 751
) VIOLATIONS!
VS' ) 18 U.S.C. § 1349 - Conspiracy to Comrnit

) Wire Fraud

CURTIS POPE and ) 18 Usc § 1343 » Wire Fraud
)
)
)
)
)

 

 

 

THE GRAND JURY CHARGES THAT:
The Scheme to Defraud
At all times relevant to this lndictment:
1. From in or about June 2010, to at least in or about August 2011, in the State and

F ederal District ofNevada and elsewhere_,

CURTIS POPE and
CHARLES WURM,
defendants herein, did devise, intend to devise, and participate in a scheme and artifice to
defraud, and for obtaining money and property by means of material false and fraudulent

pretenses,_ representations and promises, Which scheme and artifice involved Wrongfully

 

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obtaining propriety data, including valuable customer leads, from Selling Source, LLC and
attempting to profit from such data.
2. The object of the Scheme and artifice Was to Wrongfully obtain money from the
sale of stolen Selling Source data.
3. lt was part of the scheme and artifice that:
a. POPE and WURM agreed with co-conspirators KATHERINE
KAPLAN and KIMBERLY BAXA to Wrongfully obtain data from Selling Source.
b. KAPLAN and BAXA provided to POPE and WURM propriety
data, including valuable customer leads, belonging to Selling Source.
c. POPE provided payment to KAPLAN and BAXA for the stolen
Selling Source data.
d. At least some of the stolen Selling Source data Was uploaded to
WURM’S account on Dropbox.
e. POPE and WURM attempted to enter into a business partnership
With J.R. and J.R.’s company Leadmesh Whereby Leadmesh Would aggregate and broker the
stolen customer leads to lenders.
COUNT ONE
Conspiracy to Commit Wire Fraud
4. The Grand Jury incorporates Paragraphs Onel through Three as though fully set

forth herein.

 

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5. From in or about June 2010, to at least in or about August 2011, in the State

and Federal District of Nevada and elsewhere,

CURTIS POPE and
CHARLES WURM,

defendants herein, did knowingly and willfully combine, conspire, and agree with each other and
with others to transmit and cause to be transmitted by means of wire communications in
interstate and foreign commerce documents, signals, and information for purposes of executing a
scheme and artifice to defraud and for obtaining money and property by means of materially
false and fraudulent pretenses, representations_, and promises
Object of the Conspiracy

6. The object of the conspiracy was to devise, intend to devise, and participate in a
material scheme and artifice to defraud and for obtaining money and property by means of false
and fraudulent pretenses, representations and promises by wrongfully obtaining data from

Selling Source, LLC and attempting to profit from such data.
All in violation of Title 18, United States Code, Section 1349.
COUNTS TWO THROUGH THREE

Wire Fraud

7. The Grand Jury incorporates Paragraphs One through Six as though fully set forth

herein.

 

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8. For the purpose of executing the scheme and artifice to defraud, and for obtaining
money and property, and attempting to do so, on or about the dates set forth below,

CURTIS POPE and
CHARLES WURM,

defendants herein, did knowingly transmit and cause to be transmitted by means of wire
communication in interstate and foreign commerce certain signs, writings, and signals identified
below, with each wire constituting a separate violation of Title 18, United States Code, Section
1343:

a. Count 2: On l\/larch 13, 2011, POPE sent an email to KAPLAN stating, in
part, “Good morning please give me a call today if you have time? [Unindicted co-conspirator
F.L. whose identity is known to the grand jury] needs you to provide a full accounting of all
deposit’s (sic), wires and cash paid to you. .

b. Count 3: On June 21, 2011, POPE sent an email to J.R. stating, in part,
“Please take a look! l” and forwarding an email from KAPLAN stating, in pait, “Attached is a zip
file of creatives” with a compressed “zip” file attachment which contains data belonging to
Selling Source that KAPLAN wrongfully obtained

COUNT FOUR
Wire F mud

9. The Grand Jury incorporates Paragraphs One through Eight as though fully set

forth herein.

 

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10. On or about June 9, 2011 in the State and Federal District of Nevada and

elsewhere,

CURTIS POPE and
CHARLES WURM

defendants herein, for the purpose of executing and attempting to execute the Scheme and artifice
to defraud and to for obtaining money and property, did knowingly transmit and cause to be
transmitted by means of wire communication in interstate and foreign commerce certain signs,
writings, and signals, that is defendant WURM placed a telephone call to an account manager for
Leadmesh, located in Seattle, Washington, and stated that he could sell a considerable amount of

leads, all in violation of Title 18, United States Code, Section 1343.

DATED: this 9"‘ day Of March 2016.

A TRUE BILL:

/S/
FOREPERSON OF THE GRAND JURY

DANIEL G. BOGDEN

Unijkes Attorney

/FIAMIN cHEN
Assistant United States Attorney

 

 

 

